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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


    SPEED RMG PARTNERS, LLC; ROBBY                 Case No. 20‐CV‐609 (NEB/LIB)
    GORDON; and TODD ROMANO,

                       Plaintiffs,
                                               ORDER ON APPEAL OF DENIAL OF
    v.                                              MOTION TO COMPEL

    ARCTIC CAT SALES INC.; ARCTIC CAT
    INC.;   TEXTRON       SPECIALIZED
    VEHICLES INC.; and TEXTRON INC.,

                       Defendants.



         This case consolidates two similar actions—one by Speed Partners against Arctic

Cat, and one by Arctic Cat against Speed Partners.1 The parties sued each other on the

same day in two different states—Speed Partners filed in California, and Arctic Cat filed

here in Minnesota. The Minnesota case went to California for a time, and then the

California judge consolidated the cases and sent them back to Minnesota. Now, the

magistrate judge, in evaluating a motion to compel, has determined that consolidation

means that there is only one operative complaint in the consolidated case—that of Speed

Partners—and that the complaint filed by Arctic Cat has no effect. Because this result is




1 For this order, the Court refers to Speed RMG Partners, LLC, Robby Gordon, and Todd
Romano collectively as “Speed Partners,” and refers to Arctic Cat Sales Inc., Arctic Cat
Inc., Textron Specialized Vehicles Inc., and Textron Inc. collectively as “Arctic Cat.”
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legally erroneous and not the intent of the Court, the Court reverses that portion of the

magistrate judge’s order, but otherwise affirms the discovery ruling.

                                    BACKGROUND

        Because the parties are familiar with the substantive facts of the case, the Court

does not detail them extensively. It is enough to say that this case stems from a product

development relationship that went south. Speed Partners accuses Arctic Cat of fraud

and breach of contract; Arctic Cat accuses Speed Partners of breach of contract,

conversion, trademark infringement, and misappropriation of intellectual property.

   I.      The Case

        This case began as two separate cases in two separate districts. Arctic Cat (minus

Textron, Inc.), sued Speed Partners in the District of Minnesota. (Arctic Cat Inc. v. Speed

RMG Partners, LLC, No. 19‐CV‐873 (NEB/LIB), ECF No. 1.) The same day, Speed Partners

sued Arctic Cat in the Central District of California. (Speed RMG Partners, LLC v. Arctic

Cat Sales Inc., No. 2:19‐CV‐2362‐FMO‐GJS, ECF No. 1.) Here in Minnesota, this Court

granted Speed Partners’ motion to dismiss the Arctic Cat case based on exceptions to the

first‐to‐file rule. This Court also ordered the case transferred to the Central District of

California and consolidated with the case brought by Speed Partners. (19‐CV‐873, ECF

No. 52 at 8–14; see Arctic Cat Inc. v. Speed RMG Partners, LLC, No. 2:19‐CV‐7435‐FMO‐GJS,

ECF No. 77.)




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       Once in California, Arctic Cat filed its First Amended Complaint (FAC), claiming

breach of contract, breach of good faith and fair dealing, federal and common law

trademark infringement, and conversion and misappropriation of intellectual property,

as well as a declaratory judgment claim. (No. 2:19‐CV‐7435‐FMO‐GJS, ECF No. 85 ¶¶ 58–

99.) The conversion and misappropriation of intellectual property claim accused Speed

Partners of having “obtained, stolen, converted, and appropriated” Arctic Cat’s

intellectual property for its own benefit. (Id. ¶ 86.) Arctic Cat’s breach of contract claim

also accuses Speed Partners of “attempting to convert . . . intellectual property rights.”

(Id. ¶ 61(e).)

       Judge Fernando M. Olguin, District Judge for the Central District of California,

presiding over both cases, issued an order to show cause why the two actions should not

be consolidated. (No. 2:19‐CV‐7435‐FMO‐GJS, ECF No. 68.) Neither Arctic Cat nor Speed

Partners objected, and Judge Olguin ordered consolidation. (Id., ECF No. 77 (“California

Consolidation Order”).) The California Consolidation Order stated that the clerk of court

“shall consolidate these actions such that the earlier filed action [filed by Speed Partners]

. . . . is the lead case.” (California Consolidation Order at 2 (emphasis added).) Judge Olguin

then ordered the case filed by Arctic Cat to be administratively closed. No court has

issued a judgment or order of dismissal of any of Arctic Cat’s claims.

       Next, Judge Olguin transferred both cases back to this Court. (No. 2:19‐CV‐7435‐

FMO‐GJS, ECF No. 85.) Notably, they were transferred separately; the case filed by Speed



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Partners was assigned to United States District Judge Susan Richard Nelson, and the case

filed by Arctic Cat was assigned to the undersigned. (ECF Nos. 86, 92.) The undersigned

and Judge Nelson issued a joint order reassigning the Speed Partners case to the

undersigned because the two suits were “related cases.” (ECF No. 92; 19‐CV‐873, ECF

No. 57 (“Minnesota Consolidation Order”)). The order required parties to use the Speed

Partners case number (20‐CV‐609) going forward, and stated that “a copy of this order

shall be filed in each of the above respective files.” (Id. at 2 (emphasis added).)

       In the consolidated case, Arctic Cat did not re‐allege the claims listed in its FAC.

Instead, Arctic Cat simply answered Speed Partners’ First Amended Complaint; in that

Answer, it did not explicitly allege any counterclaims. (ECF No. 100.) Speed Partners later

filed a Second Amended Complaint (ECF No. 164.) Arctic Cat again answered, asserting

no counterclaims. (ECF No. 260.) At one point, Arctic Cat filed a “statement of case,”

which included the claims in, and reference to, its FAC. (ECF Nos. 104, 104‐1.)

       Speed Partners moved for partial summary judgment on the claims in Arctic Cat’s

First Amended Complaint, which was filed during the time that the case was in

California. (ECF No. 339 (motion for summary judgment).) Speed Partners is seeking

dismissal of Arctic Cat’s trademark infringement claims, intellectual property

misappropriation claims, and punitive damages claims, but not Arctic Cat’s claims for

breach of contract or breach of good faith and fair dealing. (ECF Nos. 339, 341.) Speed

Partners acknowledges that Arctic Cat’s First Amended Complaint (FAC) was filed on



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the California docket. (ECF No. 341 at n.2.) As explained above, that case was later

transferred to Minnesota and consolidated on the current docket. Speed Partners’

summary judgment argument does not include any contention that the FAC is no longer

an operative complaint. (Id.). The summary judgment motion is currently scheduled to

be heard by the undersigned on October 27, 2021.

   II.      The Motion to Compel

         Arctic Cat’s motion to compel seeks to examine certain vehicles that Speed

Partners’ principals Gordon and Romano developed through a non‐party, Speed UTV.

(ECF No. 295; ECF No. 297 at 2–11.) Speed Partners opposed the motion, arguing that: (1)

it did not have possession or control of the vehicles; (2) the motion was not sufficiently

particular; (3) the motion did not comply with Rule 34 of the Federal Rules of Civil

Procedure; and (4) the vehicles were not relevant because Arctic Cat did not bring a

patent infringement claim. (ECF No. 305 at 4–13.) At no point in opposing Arctic Cat’s

motion did Speed Partners assert that Arctic Cat had no claims in this litigation.

         Magistrate Judge Brisbois denied Arctic Cat’s Motion to Compel. (ECF No. 351

(“MTC Order”).) Judge Brisbois concluded that Arctic Cat’s FAC “is not the operative

pleading in this case” because the Arctic Cat case has been consolidated with the Speed

Partners case, and the Arctic Cat case has been administratively closed. (Id. at 27.) If the

operative complaint is Speed Partners’ SAC, and if Arctic Cat did not assert any

counterclaims in the answer to the SAC, then Arctic Cat has no claims at all. (Id. at 26–



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27.) And, if Arctic Cat has no claims, it is axiomatic that the discovery sought cannot be

relevant to any claims. (Id.) As for defenses, Judge Brisbois concluded that the vehicle

inspection was not relevant to Arctic Cat’s damages mitigation defense because Arctic

Cat’s theory on that issue was “entirely speculative.” (Id. at 28.)

        After Judge Brisbois’ order, Arctic Cat sought permission to move to reconsider,

asserting that the cases, although technically consolidated, did not operate to waive

Arctic Cat’s claims. (ECF No. 353.) Judge Brisbois denied permission, reasoning that

Speed Partners and Arctic Cat “cannot simultaneously both be defendants and plaintiffs

in a single consolidated case”; hence, Arctic Cat could only assert counterclaims—not

claims—against Speed Partners. (ECF No. 354 at 2–3 (quotation omitted).) Judge Brisbois

also concluded that, even if Arctic Cat had asserted claims, the vehicle inspection was not

relevant because those claims did not reference the vehicles or the LLC that developed

them. (Id. at 3 n. 2.) Thus, the “proposed inspection [wa]s plainly a fishing expedition to

develop new claims that Arctic Cat/TSV did not previously assert.” (Id.)

        Arctic Cat appealed to this Court. (ECF No. 369.)

                                        ANALYSIS

   I.      Legal Standard

        The Court’s review of a magistrate judge’s ruling on a non‐dispositive issue is

“extremely deferential.” Smith v. Bradley Pizza Inc., 314 F. Supp. 3d 1017, 1026 (D. Minn.

2018), aff’d, 821 F. App’x 656 (8th Cir. 2020) (quotation omitted). The Court will only



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disturb such a ruling if it is clearly erroneous or contrary to law. 28 U.S.C. § 636(b)(1)(A);

Fed. R. Civ. P. 72(a); D. Minn. L.R. 72.2(a)(3). Clear errors occur when the Court “is left

with the definite and firm conviction that a mistake” has been made. Smith, 314 F. Supp.

3d at 1026 (quotation omitted). Rulings are contrary to law when a court either does not

apply or misapplies “relevant statutes, case law, or rules of procedure.” Id. (quotation

omitted).

    II.      Arctic Cat’s Claims

          Rule 42 of the Federal Rules of Civil Procedure permits a district court, if “actions

before the court involve a common question of law or fact, . . . [to] join for hearing or trial

any or all matters at issue . . . [or] consolidate the actions . . . .” Fed. R. Civ. P. 42(a). The

parties do not address which circuit’s law of consolidation applies,2 but fortunately, both

the Eighth and Ninth Circuit’s approaches reach the same conclusion.

    A.       The Eighth Circuit Approach

          In the Eighth Circuit, “even after consolidation, the cases retain much of their

independent identity. Consolidation does not merge lawsuits into a single action, ‘or

change the rights of the parties, or make those who are parties in one suit parties in

another.’” United States v. Altman, 750 F.2d 684, 695 (8th Cir. 1984) (quoting Johnson v.




2 Speed Partners first filed in the Central District of California, within the Ninth Circuit’s
jurisdiction; Arctic Cat first filed before this Court, within the Eighth Circuit’s
jurisdiction. Consolidation occurred in the Central District of California. Since both paths
lead to the same destination, the Court walks both.


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Manhattan Ry. Co., 289 U.S. 479, 496–97 (1933)). The Eighth Circuit recognizes both

“real[]” consolidation and “technical consolidation.” Tri‐State Hotels, Inc. v. FDIC, 79 F.3d

707, 711 (8th Cir. 1996). If two cases are “really consolidated and merged into one,” id.,

then whichever party became the nominal “defendant” would have to counterclaim to

preserve affirmative claims. But if only “technical consolidation” occurs, “then each suit

retains its individual nature,” and claims in the second case remain viable. Id.

       In Tri‐State Hotels, the district court did not explicitly state whether “the two

lawsuits were formally merged for all purposes,” but it appeared that “they were merged

for the purposes of convenience only and were not formally merged.” 79 F.3d at 711. In

so concluding, the Eighth Circuit noted that (1) “the district court did not clearly state

[that] the two lawsuits were formally merged,” (2) although the district court had used a

single docket number for both cases, it had also referred to “future filings ‘in these two

suits,’” (3) consolidation would conserve judicial resources and be convenient for the

parties, and (4) the district court referred to the other case as “related litigation” rather

than “other matters in this case.” Id. at 711–12.

       As in Tri‐State Hotels, neither this Court nor Judge Olguin formally consolidated

the two cases for all purposes. As to California: First, there is no reference in the order to

a formal consolidation. Second, the California Consolidation Order called the case filed by

Speed Partners “the lead case,” implying that there was more than one. (California

Consolidation Order at 2.) Third, the same order noted that “consolidation would save



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time and effort and would not unduly burden any party,” again implying only technical

consolidation. (Id.) Fourth, that order also directed the clerk of court to administratively

close the case filed by Arctic Cat—it did not dismiss the claims in that case or issue a

judgment on them. (Id.)

       As to Minnesota: First, the Court has never entered judgment or dismissed the case

filed by Arctic Cat. Second, both cases were transferred back to Minnesota and initially

assigned to separate judges. (ECF No. 86, 92.) Third, technical consolidation matches the

parties’ behavior and litigation positions.3 The consolidation was merely “technical” and

that each case retained its separate nature.


3  The Court finds Speed Partners’ primary argument in support of affirming Judge
Brisbois’ decision (that Arctic Cat abandoned its claims) troubling. The parties have
litigated this case for over two years. The case began with a race to the courthouse by
both parties, each accusing the other of breaching a contract. Indeed, Speed Partners
moved for partial (not full) summary judgment on Arctic Cat’s claims. (ECF No. 339.)
That motion lacked any indication that Speed Partners believed that Arctic Cat had
waived their claims. (See generally ECF No. 341.)

It is absurd to now argue, as Speed Partners does, that it “only filed [its] summary
judgment motion out of an abundance of caution to preserve its legal rights, and will
withdraw it if the Court finds Defendants’ claims abandoned.” (ECF No. 373 at 10 n.2.)
That Speed Partners moved only for partial summary judgment underscores this
absurdity: if Speed Partners had truly believed that Arctic Cat had no claims, they would
have moved for summary judgment on all claims and included a waiver argument. The
parties have conducted exhaustive discovery into this case as well as extensive motion
practice before both the Court and Judge Brisbois, including: a motion to disqualify Speed
Partners’ counsel (ECF No. 106); no less than four motions to compel (ECF Nos. 107, 177,
242, 295); a motion to stay discovery (ECF No. 115); a motion to dismiss (ECF No. 167);
motions for protective orders (ECF Nos. 201, 205, 265, 289); a motion to amend to seek
punitive damages (ECF No. 233); a motion to quash (ECF No. 265); a motion to amend
the scheduling order (ECF No. 320, 378); a motion to strike or dismiss counterclaims (ECF


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    B.      The Ninth Circuit Approach

         The Ninth Circuit holds that consolidation does not “make those who are parties

in one suit parties in another.” Cont’l Airlines, Inc. v. Goodyear Tire & Rubber Co., 819 F.2d

1519, 1523 n.1 (9th Cir. 1987) (citing Johnson, 289 U.S. at 497). Although the Ninth Circuit

has questioned Johnson’s validity in certain contexts in light of Rule 42, it has concluded

that it remains good law in others, including these circumstances. See Schnabel v. Lui, 302

F.3d 1023, 1035–36 (9th Cir. 2002) (noting that Ninth Circuit cases had “implicitly

reject[ed] some consequences of Johnson” but that “[a]t the same time, Johnson maintains

viability in other contexts”).

         This pronouncement by the Ninth Circuit is sufficient to dispose of the issue before

the Court: the California Consolidation Order did not merge the Speed Partners case and

the Arctic Cat case such that Arctic Cat had to counterclaim to maintain their affirmative

claims against Speed Partners.4




No. 407); and cross‐motions for summary judgment. (ECF Nos. 332, 339, 384) And this
list does not include motion practice that occurred before the case’s return to
undersigned. In addition, many of these filings are extremely long. (E.g., ECF No. 244
(thirty‐page brief in support of Speed Partners’ motion to compel); ECF No. 297 (forty‐
page brief in support of motion to compel); ECF No. 299 (over 3,000 pages of documents
appended to declaration in support of motion to compel).) These are hardly the actions
of a party that has abandoned its claims, or those of a party that believes its opponents
have abandoned theirs.

4Judge Brisbois correctly noted that Arctic Cat asserted no counterclaims. (ECF No. 161
at 11, 22; ECF No. 173 at 3.) The fact that Arctic Cat did not object to these statements is


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           In sum, Arctic Cat retained the affirmative claims against Speed Partners set forth

in its First Amended Complaint. For the convenience of the parties and the Court,

Defendants shall re‐file their First Amended Complaint (captioned as such) with the

Court within seven (7) days of entry of this Order.5

    III.      Motion to Compel

           Deciding that Arctic Cat has not abandoned its claims does not answer the

underlying issue fully. There remains the issue that brought the parties before Judge

Brisbois in the first place—the motion to compel. The governing standard for that motion

is that parties may “obtain discovery regarding any nonprivileged matter that is relevant

to any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ.

P. 26(b)(1). The question here is whether the vehicle inspection requested by Arctic Cat is

relevant to a claim or defense in the case.

           As to claims, Arctic Cat asserts that “[a] critical dispute in this case relates to the

ownership of intellectual property which was developed and incorporated into vehicles”

under the contract. (ECF No. 369 at 12.) Arctic Cat does not allege that the vehicles are

relevant to any of its other claims. (See id. at 11–13.) Count V, however, relates only to

Speed Partners’ alleged misappropriation and conversion of intellectual property, (2:19‐



of no moment: Arctic Cat could not have surmised that these statements were an
indication they needed to present counterclaims to preserve the claims in their FAC.

5The FAC is currently found attached to one of Speed Partners’ declarations in support
of summary judgment—ECF No. 344, Ex. 13.


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CV‐7435‐FMO‐GJS, ECF No. 85 ¶¶ 85–89), a claim which Arctic Cat has abandoned in its

summary judgment filings. (ECF No. 355 at 2 (“[Defendants do] not oppose dismissal of

[their] claims for conversion and misappropriation of intellectual property.”); see ECF No.

369 at 10 n.3 (appealing MTC Order).) The motion to compel must be denied because

Arctic Cat abandoned the only claim to which it believes the vehicle inspection is

relevant.6

       But Arctic Cat also argues that the inspections are relevant to one of its defenses—

Speed Partners’ duty to mitigate damages. (ECF No. 369 at 13–14.) As Judge Brisbois

noted, however, Arctic Cat does not specify how such an inspection would be relevant

beyond the possibility that Speed Partners is “now using designs they claim Arctic

Cat/TSV could have used.” (ECF No. 369 at 13–14; ECF No. 297 at 8 (same); see MTC Order

at 27–28 (“Defendants have not provided this Court with any explanation whatsoever as

to how Plaintiffs could possibly mitigate their damages to the alleged breach of contract

by incorporating certain unspecified design elements . . . .”).) Judge Brisbois did not


6 Defendants’ claim for breach of contract also accuses Speed Partners of breaching the
contract by “attempting to convert . . . intellectual property rights.” (Speed California, ECF
No. 104 ¶ 61.) But the claim alleges no facts related to the vehicles Defendants seek to
inspect, nor explains how any information they would obtain from an inspection could
be relevant. And by abandoning their misappropriation and conversion of intellectual
property claims, Arctic Cat has potentially abandoned the portion of their breach of
contract claim that relates to the same allegations. Judge Brisbois did not clearly err in
denying the motion to compel on the grounds of relevance. The Court does note,
however, that, since dispositive motions have now been filed, and Arctic Cat could not
assert any new claims based on information an inspection would provide, whether the
motion is “a fishing expedition to develop new claims” is irrelevant.


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clearly err, nor rule contrary to law, in making this conclusion. Thus, the Court will

uphold the magistrate judge’s underlying denial of the motion to compel.

                                   CONCLUSION

      Based on the foregoing and on all the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:

      1.     Defendants’ Appeal (ECF No. 369) is GRANTED IN PART to the extent that

             it objects to the MTC Order’s conclusion that Defendants have no pending

             claims, and DENIED IN PART to the extent that it objects to the MTC

             Order’s denial of the motion to compel;

      2.     The MTC Order (ECF No. 351) is AFFIRMED IN PART to the extent that it

             denies the motion to compel; and

      3.     Arctic Cat shall re‐file their First Amended Complaint (2:19‐CV‐7435‐FMO‐

             GJS, ECF No. 85) in this action; Speed Partners shall re‐file their Answer

             (2:19‐CV‐7435‐FMO‐GJS, ECF No. 91.)

Dated: September 16, 2021                       BY THE COURT:

                                                s/Nancy E. Brasel
                                                Nancy E. Brasel
                                                United States District Judge




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